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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

YVETTE MARTIN as Special Administrator
of the Estate of ALPRENTISS NASH,

Plaintiff,

v. Case No: 14 CV 1493
CHICAGO POLICE OFFICER MICI-IAEL
BAKER, star no. 20316; CHICAGO
POLICE OFFICER JOHN SOLECKI

no. 20378, and THE CITY OF CHICAGO,

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Defendants

FIRST AMENDED COMPLAINT

NOW COMES Plaintiff, YVETTE MARTIN as Special Administrator of the
Estate of ALPRENTISS NASH, by and through his attorneys, KATHLEEN T.
ZELLNER & ASSOCIATES, P.C., complaining of Defendants, CHICAGO POLICE
OFFICERS MICHAEL BAKER, JOHN SOLECKI, and THE CITY OF CHICAGO,
and states as follows:

JuriSdiction and Venue

1. This is a civil rights action brought pursuant to 42 U.S.C. § 1983 et
seq. to redress the deprivation under color of law of Plaintiffs rights as secured by
the United States Constitution.

2. This Court has jurisdiction of the action pursuant to 28 U.S.C. §§

1331, 1343(a), and 1367(a).

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3. Venue is proper under 28 U.S.C. § 1391(b) because the events giving
rise to Plaintiffs claims occurred in this judicial district and the parties resided in
this judicial district at the time the events took place.

4. Alprentiss Nash ("Nash") Was at all relevant times herein a resident
and citizen of the State of Illinois. Nash died on July 28, 2015. On October 7, 2015,
his mother, Yvette Martin, Was appointed the Special Administrator of his estate.

5. Defendant Michael Baker (“Defendant Baker”) Was at all times
relevant herein employed as a police officer in the Chicago Police Department.

6. Defendant John Solecki (“Defendant Solecki”) Was at all times
relevant herein employed as a police officer in the Chicago Police Department.

7. Defendant City of Chicago is a duly incorporated municipal
corporation and at all relevant times Was the employer of Defendants Baker and
Solecki (collectively “Defendant Officers”). The City of Chicago is liable for the
Wrongful acts of the Defendant Officers While acting Within the scope of their
employment, pursuant to its statutory obligation to indemnify them.

8. Each of the Defendant Officers engaged in the conduct complained of
under the color of state law and in the course and scope of his employment as a
police officer With the City of Chicago.

9. Each of the Defendant Officers are sued in their individual capacity.

Allegations of Fact

Nash’s Prior Run-In with Area 2 Officers
10. In the Winter of 1994, Nash Was stopped and searched by two Area 2

Chicago police officers Without probable cause or reasonable suspicion. The officers

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found a bag of marijuana. The officers told Nash that they Were not going to arrest
him, but they Were going to take all of his money and his beeper. They told him
that he Would “be sorry” if he told anyone.

11. Nash had told people in the neighborhood about being robbed by two
Area 2 police officers.

12. Both Defendant Officers Were Area 2 officers
Mur'der of Leon Stroud

13. Leon Stroud (“Stroud”) lived on the 11000 block of Wentworth Avenue
in Chicago, Illinois. He Was a noted “bootlegger” in the neighborhood He sold
alcohol, cigarettes, and crack cocaine out of` his home.

14. At around 1:45 p.m. on April 30, 1995, three masked men entered
Stroud’s home and robbed him. One of the masked men shot Stroud in the chest.

15. A Woman opened the door to a back bedroom in Stroud’s home and
looked out into the living room. She saw the three masked men, one of Whom Was
holding a handgun. The Woman closed the door and the three masked men fled
from the home.

16. One of the robbers’ masks Was left at the scene. The mask Was taken
into custody by the police, but it Was not tested for DNA, fingerprints, or any other
forensic evidence.

Jean Collins Advises Police Officer There Were Three Masked Men
17 . Jean Collins advised investigators that she Was in the back bedroom

of the Stroud home When she heard a gunshot. She opened the bedroom door and

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looked down the hallway. There she saw three masked men, one of whom was
holding a gun. l\/ls. Collins did not see anyone other than the three masked men
and Stroud.

18. Ms. Collins stated that she immediately closed the door and fled alone
out the bedroom window. She turned toward the gangway between Stroud’s home
and the neighbor’s home. Two of the masked men came running down the gangway
and knocked her over.

19. Ms. Collins advised that she could not identify the men because of the
masks.

Matthew Rollins Confirms There Were Three Men, Identifies Alvin Wyatt

20. l\/latthew Rollins (“Rollins”) advised investigators that, minutes before
the shooting, he observed Alvin Wyatt (“Wyatt”) emerge from the Stroud home.

21. Rollins told investigators that he then observed Wyatt walk down the
street and into the gangway between his home and Wyatt’s house to the south.
Wyatt met with tw_o other men in the gangway.

22. Rollins could not identify either of the other men, as they faced away
from him and he could not view their faces from his vantage point.

23. Rollins advised investigators that the three men walked in the
direction of Stroud’s home.

24. Rollins also advised investigators that after he heard a gunshot, he

observed Wyatt flee from the Stroud home.

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25. Wyatt was subsequently taken into custody and interviewed by
investigators Wyatt denied playing any role in the home invasion and murder or
knowing who did.

Paul Harris Places Himself at the Scene with Motive

26. Investigators learned that Paul Harris (“Harris”) was also seen around
the Stroud home at the time of the murder.

27 . Harris was interviewed by investigators at the scene.

28. Harris admitted that he was inside the home at the time of the home
invasion and murder. He claimed, however, that he was an innocent bystander to a
robbery gone Wrong by a lone masked man who entered Stroud’s home, robbed
everyone therein, and shot Leon Stroud.

29. Harris stated that he could not identify the alleged robber.

30. Harris claimed that after the shooting he ran into the back bedroom
where Collins was. He claimed that he then helped Collins out the window, before
exiting the window himself

31. Because they had already interviewed Collins, investigators knew
Harris’s statements were false.

32. In addition to admitting being at the scene at the time of the murder
and providing a false statement, Harris admitted to police that he knew Stroud had
a lot of money, that he knew Stroud kept his money in his wallet, that Harris had
no money_only a quarter to his name, that Harris smoked crack cocaine, and that

Harris knew Wyatt very well. The investigators were aware that Harris was in the

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same gang as Wyatt. lt was clear that Wyatt and Harris were two of the three men
seen by Collins and Rollins.
Nash Is Framed

33. Rollins was re-interviewed by Defendants Baker and Solecki hours
after the shooting. Defendant Officers were aware that Rollins was a close friend of
Harris’s.

34. Rollins stated for the first time that he saw only one man in the alley
with Wyatt. Rollins further stated that he did not and could not identify the (now
one) other person in the alley.

35. On information and belief, in a rush to close the case, Defendant
Officers physically and/or verbally coerced Rollins to change his statement to align
with Harris’s.

36. Defendant Officers knew that Rollins’ new statement was completely
unreliable.

37 . Seeing an opportunity to quickly resolve a case involving the death of a
bootlegger in a poor neighborhood by arresting Nash, a drug dealer from the
neighborhood who had been claiming to others that Area 2 officers had robbed him,
Defendants conspired between themselves and with others to frame Nash.

38. Investigators re-interviewed Wyatt and utilized physically and/or
verbally coercive techniques in an attempt to get Wyatt to state that he had met one

person in the gangway and it was that person who committed the shooting. Among

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other things, investigators told Wyatt that he would not be charged and would not
go to jail if he agreed to the story presented to him.

39. Wyatt agreed to the story. He stated he did meet a man in the
gangway. He explained that this man proposed robbing Stroud, and this man
eventually shot Stroud during the robbery. Wyatt only knew the man as “Moose.”

40. On information and belief, the Defendant Officers were aware of the
techniques utilized to coerce and encourage Wyatt, but did not act to prevent those
techniques from being utilized. Defendant Officers did not disclose the techniques
used or the unreliability of Wyatt’s statement to the prosecutors or defense before,
during, or after trial.

41. Wyatt knew Nash by name and owed him money at the time. He had
purchased drugs from Nash earlier that day. Wyatt knew Nash’s nickname was
“Lemeke,” not “Moose.”

42. “Moose” was the nickname of Demetrius Loggers, another man who
lived in the neighborhood

43. On information and belief, Defendant Officers were aware that
Loggers’s nickname was “Moose.”

44. As alleged in further detail below, Loggers’s DNA was discovered on
the mask found at the scene.

45. Defendants Baker and Solecki and others drove Wyatt to Nash’s home,
Defendant Officers retrieved a photo of Nash from the residence. They brought the

photo out to the car and showed Wyatt.

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46. On information and belief, Wyatt repeatedly denied that the man in
the photo Was “Moose.” He told them the man in the photo was Nash, also known
as “Lemeke.”

47 . On information and belief, Defendants Baker and Solecki, used
physically and/or verbally coercive techniques in an effort to get Wyatt to identify
the man in the photo as “lVloose.” Among other things, Defendants told Wyatt that
he Would be charged with murder and go to jail unless he identified the person as
“lVloose.” Wyatt eventually gave in and stated that the person in the photograph
was indeed “Moose.”

48. On information and belief, Defendants Baker and Solecki, fabricated
police reports to reflect a positive identification of Nash as “l\/loose” and they did not
disclose that the identification had only been made after denial and as the result of
coercion and manipulation.

Defendants Arrest Nash and Search the Residence of His Girlfriend

49. Later that evening, Defendant Officers apprehended Nash without
probable cause. Nash proclaimed his innocence of any wrongdoing

50. Having taken custody of Nash, Defendant Officers and others traveled
to the nearby residence of Lakedia Leverette.

51. Defendant Officers entered the home allegedly in search of a gun.

52. Defendant Officers removed and/or cause to be removed a bag from
Leverette's residence. The bag was from the store "Breyers."

53. Nash had obtained the Breyers bag earlier in the day when he had

purchased clothing.

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54. The bag constituted conclusive evidence that Nash had been shopping
far from the scene of the Stroud murder at or about the time of the murder and thus
established Nash had no involvement in the murder.

55. Knowing that the bag Was conclusive support for Nash’s innocence,
Defendant Officers caused the bag never to be inventoried or disclosed to Nash, his
defense attorneys, prosecutors, or any member of the Cook County State's
Attorney‘s Office.

Nash is Interviewed

56. Nash was interviewed by Defendants Solecki and Baker at Area 2
Headquarters.

57. Nash continued to set forth his airtight and verifiable alibi.

58. Nash explained his whereabouts throughout the entire day.

59. Nash explained how he had taken a cab to l\/laxwell Street to shop.

60. Nash explained that he had shopped at Breyers. He purchased a pair
of blue overalls, some navy blue gym shoes, a three quarter length black bloomers
jacket, and a snake skin baseball hat.

61. Nash explained that the clothing items Were placed in a bag supplied
by the Breyers store.

62. Nash told the officers he had changed into his new clothes after

purchasing them.

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63. Nash told the ochers she had Visited his girlfriend, Lakedia Leverette
prior to his arrest.

Unduly Suggestive Lineups

64. Nash was placed in a line up and due to improperly suggestive
techniques, Rollins falsely identified Nash. Defendant Officers knew that Rollins
identification of Nash Was unreliable.

65. Defendant Officers knew that Rollins' identification was false because
Rollins had not previously identified Nash despite knowing him for years by name
and nickname. Rollins had repeatedly stated to Defendants Baker, Solecki, and
other officers that he would not be able to identify anyone other than Wyatt.
Defendant Officers and other officers were aware that Rollins, based on his story
about where the individuals were situated in the gangway and the angle from which
he viewed them, it would have been impossible for Rollins to identify anyone other
than Wyatt. Defendant Officers caused this information to be concealed from the
prosecutors and defense.

66. Harris was brought to the police station for a lineup. On information
and belief, Police Officers conducted the lineup in an improperly suggestive manner,
and induced Rollins to falsely identify Nash, Defendant Officers caused this
information to be concealed from the prosecutors and defense.

67 . Harris’s identification was based solely on Nash’s voice and stature, as
the gunman was wearing a mask.

68. Defendant Officers knew Harris’s identification was false. Defendant
Officers knew that Harris had known Nash for years, such that he Would have

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known Nash’s voice and stature. If Nash was the shooter, Harris would have been
able to identify Nash at the scene, as he would have recognized his voice and
stature in the Stroud home.

Defendant Officers Conceal All Exculpatory Evidence

69. ln the manner described above and below, Defendant Officers
maliciously, intentionally, and with reckless disregard to Nash’s constitutional
rights, concealed and withheld material exculpatory and impeachment information
from the prosecutors and defense before, during, and after Nash’s criminal trial.

70. Defendants Baker and Solecki concealed from the prosecutors and
defense the fact they had taken, or caused to be taken, the Breyers bag from
Leverette's residence.

71. Defendants Baker and Solecki never disclosed, and caused others
never to disclose the fact they had taken, or caused to be taken, the Breyers bag
from Leverette's residence.

72. On information and belief, Defendants Baker and Solecki concealed
from the prosecutors and defense the fact they had confirmed Nash’s alibi.

73. On information and belief, Defendants Baker and Solecki concealed
from the prosecutors and defense the fact that Wyatt had stated that Nash was not
“Moose,” and that he only agreed to say Nash Was “l\/loose” after physical and/or
verbal coercion and manipulation from Defendant Officers. Defendant Officers
falsified reports to reflect an identification of Nash as “Moose” without denial,

equivocation, coercion, or manipulation.

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74. On information and belief, Defendant Officers concealed from the
prosecutors and defense the fact that “Moose” was the nickname of Demetrius
Loggers.

7 5. Defendant Officers concealed from the prosecutors and defense
exculpatory and impeachment information learned during interviews with Jean
Collins, wherein she stated that there were three masked men in the home, that she
did not see anyone other than the three masked men in the home, that she left out
the back bedroom window aM, and that two of the masked men knocked her over
while they were fleeing from the home,

76. Defendants Baker and Solecki concealed from the prosecutors and
defense the exculpatory fact that they coerced and/or manipulated Rollins to change
his story from seeing three men in the gangway to just two.

77. Defendant Officers concealed from the prosecutors and defense the
fact that Rollins had consistently stated he could not identify anyone other than
Wyatt in the gangway prior to the murder.

78. Defendant Officers concealed from the prosecutors that the unduly
suggestive conduct that occurred during the lineups and the unreliability of
Rollins’s and Harris’s false identifications

Nash is Charged and Convicted

79. No physical evidence connected Nash to the crime in any way. The
State’s decision to press charges and its case to the jury was based entirely on
Defendant Officers’ false representations and reports regarding the manipulated,

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fabricated, and false statements and identifications by Rollins, Wyatt, and Harris,
as well as Defendant Officers’ malicious concealment of material evidence.

80. Defendant Officers continued to coerce and/or otherwise manipulate
and influence witnesses, including Wyatt, Rollins, and Harris, to testify falsely at
trial.

81. Nash’s trial counsel argued that Wyatt and Harris committed the
robbery and murder together with a third party.

82. At the conclusion of his trial, Nash was convicted of murder. For the
next 17 years, Nash worked tirelessly to prove his innocence.

DNA Evidence Exonerates Nash

83. On October 28, 2007 , Nash filed a pro se motion pursuant to section
116-3 of the Code of Criminal Procedure seeking DNA testing on the mask
discovered at the scene.

84. On March 5, 2010, the lllinois Appellate Court granted the motion,
noting that “the evidence presented against the defendant at trial was significantly
less than conclusive.” The appellate court pointed out that Rollins originally told an
officer that he saw two men in the gangway with Wyatt; that it made no sense for
Harris to identify Nash by voice and stature for the first time at the station because
he knew Nash and should have been able to identify his voice when he heard it; that
Wyatt did not initially implicate anyone and only did so after he was improperly
incentivized by the officers; and that any DNA on the mask other than Nash’s

would go a long way to showing his actual innocence.

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85. On September 22, 2010, Nash was excluded as a contributor to either
of the DNA profiles discovered on the mask.

86. Subsequent testing performed on the mask revealed a major prohle
that once again excluded Nash, The major profile was searched against the DNA
lndex and detected an association with Demetrius Loggers, also known as “l\/loose.”
Post-Conviction Proceedings and Dismissal of All Charges

87 . On February 24, 2011, Nash filed a petition for post-conviction relief,
asserting actual innocence based upon the DNA results. On August 30, 2012, the
State withdrew its opposition, the petition was granted, and the State dismissed all
pending charges

88. On September 7, 2012, Nash iled a petition for certificate of innocence.
This petition was unopposed by the State and granted on November 9, 2012,

Nash’s Damages

89. Nash was wrongfully incarcerated from April 30, 1995 to August 30,
2012, As a direct result of Defendants’ intentional, bad faith, willful, wanton,
reckless, and/or deliberately indifferent acts and omissions, Nash sustained injuries
and damages including loss of his freedom for over 17 years, pain and suffering,
severe mental anguish, emotional distress, loss of income, inadequate medical care,
humiliation, indignities and embarrassment, degradation, permanent loss of
natural psychological development, and restrictions on all forms of personal freedom
including but not limited to diet, sleep, personal contact, educational opportunity,

vocational opportunity, personal fulfillment, sexual activity, family relations,

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reading, television, movies, travel, enjoyment, and freedom of speech and
expression.
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42 U.S.C. § 1983 - 14th Amendment Due Process
Destruction and/or Concealment of Material Exculpatory and
Impeachment Evidence
(Defendant Officers)

90. Each paragraph of this Complaint is incorporated as if restated fully
herein.

91. In the manner described above and alleged herein, Defendant Officers
concealed and/or destroyed material exculpatory and impeachment evidence from
Nash and from prosecutors before, during, and after Nash’s criminal trial, causing
the prosecution against Nash to commence and continue for more than 17 years.

92. ln concealing and/or destroying the material exculpatory and
impeachment evidence, Defendant Officers acted maliciously, intentionally, and
with willful and wanton disregard for Nash’s constitutional rights.

93. Defendant Officers’ actions directly and proximately caused the
injuries and damages to Nash as claimed above, and constitute a due process
violation under the 14th Amendment of the U.S. Constitution.

WHEREFORE, Plaintiff, Yvette Martin as Special Administrator of the

Estate of Alprentiss Nash, respectfully requests that this Court enter judgment in

Plaintiff's favor and against Defendants, awarding compensatory damages,

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attorney’s fees, and costs against Defendants as well as any other relief this Court
deems just and appropriate
COUNT II
42 U.S.C. § 1983
Failure to Intervene
(Defendant Officers)

94. Each paragraph of this Complaint is incorporated as if restated fully
herein.

95. ln the manner described above and alleged herein, during the
constitutional violations described above, Defendant Officers stood by without
intervening to prevent the misconduct, including but not limited to the concealment
and/or destruction of material exculpatory and impeachment evidence,

96. As a result of Defendant Officers’ failure to intervene to prevent the
violation of Nash’s constitutional rights, Nash suffered pain and injury, as well as
emotional distress These Defendants had a reasonable opportunity to prevent this
harm, but failed to do so.

97. The misconduct described in this Count was objectively unreasonable
and was undertaken with malice and willful indifference to Nash’s constitutional
rights

WHEREFORE, Plaintiff, Yvette l\/lartin as Special Administrator of the

Estate of Alprentiss Nash, respectfully requests that this Court enter judgment in

Plaintiff's favor and against Defendants, awarding compensatory damages,

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attorney’s fees, and costs against Defendants as well as any other relief this Court
deems just and appropriate
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42 U.S.C. § 1983
Conspiraoy to Deprive of Constitutional Rights
(Defendant Officers)

98. Each paragraph of this Complaint is incorporated as if restated fully
herein.

99. In the manner described above and alleged herein, Defendant Officers
together reached an understanding, engaged in a course of conduct, engaged in a
joint action, and otherwise conspired among and between themselves to deprive
Nash of exculpatory and impeachment information to which he was lawfully
entitled and which would have led to either his not being charged, his acquittal, or
his more timely exoneration.

100. ln the manner described above and alleged herein, Defendant Officers
together reached an understanding, engaged in a course of conduct, engaged in a
joint action, and otherwise conspired among and between themselves to deliberately
fabricate evidence against Nash, causing him to be arrested, charged, and convicted.

101. Defendant Officers, acting in concert among and between themselves
and with unknown co-conspirators, conspired by concerted action to accomplish an
unlawful purpose by unlawful means

102. ln furtherance of the conspiracy, each of the co-conspirators engaged

in and facilitated numerous overt acts, including but not limited to arresting Nash

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without probable cause, coercing false information and improperly suggesting
identification evidence, withholding material exculpatory and impeachment
evidence, and committing perjury during hearings and trials

103. The misconduct described in this count was undertaken with malice,
willfulness, and/or reckless indifference to Nash’s rights

104. Said conspiracy and overt acts were continued from on or about April
30, 1995, through to the present.

105. The conspiracy proximately caused the injuries to Nash as set forth
above

WHEREFORE, Plaintiff, Yvette Martin as Special Administrator of the
Estate of Alprentiss Nash, respectfully requests that this Court enter judgment in
Plaintiff's favor and against Defendants, awarding compensatory damages,
attorney’s fees, and costs against Defendants as well as any other relief this Court
deems just and appropriate

COUNT IV
Illinois Law

Malicious Prosecution
(Defendant Officers)
106. Each paragraph of this Complaint is incorporated as if restated fully
herein,
107. In the manner described above and alleged herein, Defendant Officers

knowingly and maliciously initiated and/or caused judicial proceedings to continue

against Nash knowing they lacked probable cause to do so.

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108. Defendants created false or incomplete police reports and/or made
false and/or incomplete statements to other police officers, the prosecutors, and in
court regarding the criminal investigation in this matter.

109. Defendants instituted the judicial proceedings and/or caused them to
continue against Nash with malice, and with willful and wanton disregard for the
truth of the allegations asserted against Nash,

110. This prosecution was terminated in Nash’s favor on August 30, 2012
when all charges were nolle prosequi That the termination of proceedings is
indicative of innocence is demonstrated by the certificate of innocence issued on
November 9, 2012,

111. Defendants are liable for the prosecution because it was proximately
caused by their unlawful actions as set forth above,

112. These actions directly and proximately caused the injuries and
damages to Nash as claimed above and constitute the tort of malicious prosecution
under Illinois law.

WHEREFORE, Plaintiff, Yvette l\/lartin as Special Administrator of the
Estate of Alprentiss Nash, respectfully requests that this Court enter judgment in
Plaintiff's favor and against Defendants, awarding compensatory damages
attorney’s fees, and costs against Defendants as well as any other relief this Court

deems just and appropriate

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Illinois Law
Intentional Infliction of Ernotional Distress
(Defendant Officers)

113. Each paragraph of this Complaint is incorporated as if restated fully
herein.

114. In the manner described above and alleged herein, the acts and
conduct of Defendant Officers were extreme and outrageous Defendants intended
to cause, or were in reckless disregard of the probability that their conduct Would
cause, severe emotional distress to Nash,

115. Said actions were undertaken with malice, willfulness and with
reckless indifference to the rights of Nash,

116. As a direct and proximate result of Defendants’ wrongful acts, Nash
suffered damages, including severe emotional distress and anguish.

WHEREFORE, Plaintiff, Yvette l\/lartin as Special Administrator of the
Estate of Alprentiss Nash, respectfully requests that this Court enter judgment in
Plaintiff‘s favor and against Defendants, awarding compensatory damages
attorney’s fees, and costs against Defendants as well as any other relief this Court

deems just and appropriate

COUNT VI
Illinois Law
Conspiracy
(Defendant Officers)
117 . Each paragraph of this Complaint is incorporated as if restated fully

herein.

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118. In the manner described above and alleged herein, Defendant Officers
together reached an understanding, engaged in a course of conduct, engaged in a
joint action, and otherwise conspired among and between themselves to maliciously
prosecute Nash without probable cause and intentionally inflict emotional distress

119. ln furtherance of this conspiracy, Defendants committed the overt acts
as set forth above, including but not limited to the arrest of Nash without probable
cause, the coercion of witness statements the manipulation and falsification of
police reports the concealment and/or destruction of material exculpatory and
impeachment evidence, and the knowing presentation of fabricated evidence to
initiate and continue proceedings against Nash maliciously.

120. Said conspiracy and overt acts were continued from on or about April
30, 1995, through to the present.

121. The conspiracy proximately caused the injuries to Nash as set forth
above,

WHEREFORE, Plaintiff, Yvette Martin as Special Administrator of the
Estate of Alprentiss Nash, respectfully requests that this Court enter judgment in
Plaintiff‘s favor and against Defendants awarding compensatory damages
attorney’s fees, and costs against Defendants as well as any other relief this Court

deems just and appropriate

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COUNT VII
745 ILCS 10/9-102 - Indemnification
(Defendant City of Chicago)
122. Each paragraph of this Complaint is incorporated as if restated fully
herein.
123. Defendant City of Chicago was the employer of each of the Defendant
Officers at all times relevant to this complaint, as set forth above
124. The individually named Defendant Officers were at all relevant times
acting within the course and scope of their employment
125. Pursuant to 745 ILCS 10/9-102, the governmental entity set forth
above is liable to pay all judgments and settlements entered against each of its
employees for the claims set forth above
WHEREFORE, pursuant to 745 ILCS 10/9-102, Plaintiff, Yvette l\/lartin as
the Special Administrator of the Estate of Alprentiss Nash, demands judgment
against Defendant City of Chicago in the amounts awarded to Plaintiff against the
individual Defendants by way of judgment or settlement, including any and all
amounts awarded for damages costs and attorney’s fees
COUNT VIII

Respondeat Superior
(Defendant City of Chicago)

126. Each paragraph of this Complaint is incorporated as if restated fully
herein.
127. At all times relevant to this complaint the Defendant Officers acted as

agents of, and in the scope of their employment with, Defendant City of Chicago.

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128. Defendant City of Chicago is liable for the torts of the police officer
Defendants for their violations of state law under the doctrine of respondeat
superior.

WHEREFORE, Plaintiff, Yvette Martin as the Special Administrator of the
Estate of Alprentiss Nash, demands judgment against Defendant City of Chicago in
the amounts awarded to Plaintiff against the individual Defendants by way of
judgment or settlement, including any and all amounts awarded for damages costs,

and attorney’s fees

JURY DEMAND
Plaintiff hereby demands a trial by jury pursuant to Federal Rule of Civil
Procedure 38(b) on all issues so triable

Respectfully Submitted,

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